   23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 1 of 11




                       IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:
           SAFE WAY TRANSPORT,LLC                                     CASE NO.23-00103-JAW

DEBTOR                                                                             CHAPTER 7

  TRI-STATE TRUCK CENTER.INC.’S VERIFIED MOTION FOR CONTEMPT AND
                AWARD OF COSTS.FEES. AND PENALTIES

           Creditor Tri-State Truck Center, Inc. d^/a Tri-State Leasing(“TSL”)respectfully requests

that the Court enter an order(1)holding KH Enterprise LLC(“KH Enterprise”)and Kenyascicus

Sanders(“Mr. Sanders”)(collectively, KH Enterprise and Mr. Sanders shall be referred to as the

 KH Parties”) in civil contempt of the Court’s Order Granting Tri-State Truck Center, Inc.'s

Motionfor Examination ofKH Enterprise LLC and Production ofDocuments Pursuant to Rule

2004 (Doc. 47)(“KH 2004 Order”) and the subpoena (Doc. 69) served on KH Enterprise to

compel compliance with the KH 2004 Order;(2) requiring the KH Parties, jointly and severally.

to pay TSL’s costs and attorneys’ fees incurred as a result of the KH Parties’ contempt, including

TSL’s costs and attorneys’ fees incurred in preparing and prosecuting this motion, within 30 days

of entry of an order granting this motion;(3) imposing a $100 per diem fine on the KH Parties,

jointly and severally, for each day they continue to fail to comply with the KH 2004 Order; and

(4)compelling the KH Parties to fully comply with the KH 2004 Order by producing all responsive

documents in KH Enterprise’s possession,custody,or control and making KH Enterprise available

for a deposition on a date certain.

                                   FACTUAL BACKGROUND

           1.    On March 22, 2023, TSL filed motions for the Rule 2004 examinations of the

Debtor and KH Enterprise. (Docs. 42-43) (“Rule 2004 Motions”). Creditor Northpoint

Commercial Finance, LLC(“Northpoint”)joined in the Rule 2004 Motions.(Docs. 44-45).
04286836                                          1
  23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 2 of 11




           2.   On March 22, 2023, the Court entered the KH 2004 Order (Doc. 47) and an Order


Granting Tri-State Truck Center, Inc. 's Motion for Examination of Debtor and Production of

Documents Pursuant to Rule 2004(Doc. 46). The Orders required the Debtor and KH Enterprise


to produce the documents listed in Exhibit B to the Rule 2004 Motions within fourteen (14) days


of entry of the Orders, or by April 5, 2023. The Orders further required the Debtor and KH


Enterprise to make themselves available for depositions within twenty-four (24) days of entry of


the Orders, or by April 15,2023. Obviously, the purpose ofrequiring the documents to be produced


in advance of the depositions was so that TSL’s counsel would have the benefit of the documents


in preparing for the depositions.* TSL issued and served KH Enterprise’s registered agent, Tina


Henry, with a subpoena attaching the 2004 Motion and Order and a check for mileage and witness


fees, despite Ms. Henry’s attempt to dodge service of process.(Doc. 69).^

           3.   On April 5,2023, Bryant Guy, the Debtor’s counsel, emailed TSL’s counsel stating


that the Debtor and KH Enterprise would make themselves available for deposition on April 12,


2023. Mr. Guy subsequently stated that Ms. Sanders would be the corporate representative for the

Debtor and that Mr. Sanders would be the corporate representative for KH Enterprise. (Ex. 1,




‘ As explained in TSL’s 2004 Motion for the examination of KH Enterprise (Doc. 43      4-5), Safeway and
KH Enterprise operate out of the same location (907 South State Street, Jackson, Mississippi), have the
same registered agent (Tina Henry), operate the same line of business (truck hauling), and have common
officers and directors (Ken and Kina Sanders). According to the Secretary of State’s website and her
deposition testimony, Kina Sanders (“Ms. Sanders”) is the sole member of the Debtor. According to the
Secretary of State’s website, Ms. Sanders is a Manager/Member ofKH Enterprise and Mr. Sanders- Kina’s
husband - is the Manager, Member, and President of KH Enterprise. During the Debtor’s deposition, Ms.
Sanders repeatedly stated that she was unable to answer questions regarding the topics listed in the 2004
Motion, but that her husband, Mr. Sanders, would know the answers. On information and belief, KH
Enterprise is the alter ego and/or successor and/or mere continuation ofthe Debtor, and KH Enterprise, Ms.
Sanders, and Mr. Sanders are the recipients offraudulent transfers from the Debtor.

" A runner from the Brunini Law Firm saw Ms. Henry in the parking lot at 907 South State Street when
serving the subpoena. Ms. Henry attempted to run into the office to avoid service ofthe subpoena and yelled
expletives at Brunini’s runner. This was the second attempt to serve KH Enterprise with the subpoena.
During the first attempt, Mr. Sanders refused to accept service of the subpoena.


04286836                                            2
  23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 3 of 11




Emails from B. Guy).

           4.   Prior to April 12, 2023, the Debtor produced its 2021 tax returns and less than a

year’s worth of bank statements and no other documents.^ KH Enterprise has produced no

documents in response to the KH Order.

           5.   On April 12, 2023, TSL’s counsel and Sean Guy, counsel for Northpoint, took the

Debtor’s 2004 Examination. Ms. Sanders was the Debtor’s corporate representative and arrived


thirty minutes late for the deposition. Ms. Sanders was unable to answer numerous questions

within the scope of the examination topics listed in the 2004 Motion. Ms. Sanders indicated that

her husband, Mr. Sanders, would know the answers to the questions she was unable to answer.

Ms. Sanders admitted that numerous documents the Debtor was required - but failed - to produce

existed, and promised to provide those documents following the deposition. Following the

deposition, TSL’s counsel conferred with the Debtor’s counsel, and the Debtor’s counsel promised

to provide the missing documents by April 18, 2023 and to offer Mr. Sanders to testify on behalf

of the Debtor regarding questions Ms. Sanders was unable to answer.

           6.   As noted previously, prior to April 12, 2023, the Debtor’s counsel indicated that

Mr. Sanders would be the corporate representative for KH Enterprise. On April 12, 2023, Mr.

Sanders briefly appeared at the law offices of Brunini, Grantham, Grower & Hewes, PLLC, but

left before the Debtor’s examination ended, stating that he did not have time to sit for a deposition

that day. He returned several hours later to pick up his wife, Ms. Sanders, but indicated he did not

have time to sit for a deposition on behalf of KH Enterprise. Accordingly, KH Enterprise failed to

make itself available for deposition within 24 days o! the KH 2004 Order, as required by the KH



3 TSL’s counsel agreed to give the Debtor until April 18, 2023 to supplement its document production and
provide deposition dates to resume the Debtor’s deposition with Mr. Sanders answering the questions Ms.
Sanders was unable to answer. TSL reserves the right to file a motion for contempt and/or to compel based
on the Debtor’s compliance with the 2004 Order directed to the Debtor.

04286836                                           3
   23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 4 of 11




2004 Order. For the first time on April 13, 2023, the Debtor’s counsel indicated that he would not

be representing KH Enterprise, and therefore, could not provide a date for KH Enterprise’s

deposition or make any promises as to when KH Enterprise would produce the documents it was

required to produce by the KH 2004 Order.(Ex. 2, Emails).

           7.    Accordingly, KH Enterprise has failed to produce any ofthe documents required to

be produced by the Court’s 2004 Order, and KH Enterprise failed to make itself available for

deposition on April 12 or at any time within 24 days of the Court’s 2004 Order. Moreover, KH

Enterprise has failed to provide an alternative date when it will make itself available for deposition.

In sum, KH Enterprise has clearly violated the KH 2004 Order, done so willfully, and has

expressed no intention of complying with the KH 2004 Order in the future. KH Enterprise has

likewise completely ignored the subpoena served on it commanding it to comply with the KH 2004

Order.

                                           ARGUMENT

A.         The Court Should Hold KH Enterprise in Contempt.

           8.    A bankruptcy court may hold a person or entity in civil contempt for failing to

comply with an order, such as an order issued pursuant to Bankruptcy Rule 2004. See In re

Chateaugay Corp.,920 F.2d 183, 187(2d Cir. 1990);In re Dieffenbacher, 556 B.R. 79, 83(Bankr.

E.D.N.Y. 2016). Indeed, “[t]he authority to impose sanctions for contempt of an order is an

inherent and well-settled power of all federal courts - including bankruptcy courts.” In re Brown,

511 B.R. 843, 848-49 (Bankr. S.D. Tex. 2014)(citing United States v. Fidanian, 465 F.2d 755,

757 (5th Cir. 1972); In re Bradley, 588 F.3d 254, 266 (5th Cir. 2009); In re Terrebonne Fuel &

Lube, Inc., 108 F.3d 609,613 (5th Cir. 1997)). Contempt is appropriate when (a)there was a court

order in effect,(b) the order required specific conduct by the respondent, and (c) the respondent



04286836                                           4
   23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 5 of 11




failed to comply with the court order. United States v. City ofJackson, Miss., 359 F.3d 111„ 731

(5th Cir. 2004). Moreover, “Rule 45(g) permits a court to hold a person (not just a party) who,

having been served with a subpoena, fails to obey it without adequate excuse or fails to obey an

order related to the subpoena.” In re Correra, 589 B.R. 76, 123-24 (Bankr. N.D. Tex. 2018)

(emphasis in original).

           9.    Civil contempt sanctions may be imposed both to coerce a party into compliance

with the Court’s order and to compensate the complainant for losses sustained, including

reasonable costs and attorneys’ fees. See Local 28 ofthe Sheet Metal Workers'Int'lAss'n v. EEOC,

478 U.S. 421, 443 (1986). Thus, in a contempt proceeding, the Court has the discretion to award

costs and attorneys’ fees to compensate the party forced to file a motion to compel compliance

with the Court’s orders. See In re Norrie, 2016 WL 6407839, at *7(B.A.P. 9th Cir. Oct. 26,2016).

Civil contempt sanctions may be imposed upon notice and an opportunity to be heard. See Int'l

Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 827 (1994) (civil contempt

sanctions may be imposed to coerce compliance and to compensate the other side for losses

sustained as a result of the contempt).

           10.   There is no question that KH Enterprise is in civil contempt of the KH 2004 Order

and the subpoena served on KH Enterprise requiring it to comply with the KH 2004 Order.

Although the KH 2004 Order required KH Enterprise to produce documents by April 5, KH

Enterprise has produced no documents to date. Moreover, despite counsel representing that KH

Enterprise would make itself available for a deposition on April 12, KH Enterprise’s corporate

representative, Mr. Sanders, only briefly showed up on April 12 to state that he did not have time

to sit for a deposition. Following the Debtor’s deposition, when TSL’s counsel, in an attempt to

avoid having to file this motion, emailed Bryant Guy,the Debtor s counsel and the person holding



04286836                                         5
     23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 6 of 11




himself out as KH Enterprise’s counsel, about KH Enterprise’s document production and

deposition availability, Mr. Guy for the first time stated that he did not represent KH Enterprise

and thus was unable to commit KH Enterprise to produce the documents it was required to produce

or to make itself available for a deposition following April 12. As such, TSL has no reason to

believe that KH Enterprise has any intention ofcomplying with the KH 2004 Order or the subpoena

served on it to compel compliance with the KH 2004 Order.

B.         The Court Should Hold Mr. Sanders in Contempt in his Individual Capacity.

           11.    In Wilson v. United States, 221 U.S. 361, 376 (1911), the Supreme Court held that

individuals may be punished for contempt for failing to cause an entity to comply with a court

order:

           A command to the corporation is in effect a command to those who are officially
           responsible for the conduct of its affairs. If they, apprised of the writ directed to the
           corporation, prevent compliance or tail to take appropriate action within their
           power for the performance of the corporate duty, they, no less than the corporation
           itself, are guilty of disobedience, and may be punished for contempt.

           12.     The Supreme Court’s holding in Wilson has since been followed by numerous

courts as the majority rule in the United States. See Greater St. Louis Construction Laborers

Welfare Fund v. Hance Excavating, LLC, 2008 WL 544718 (E.D. Mo. 2008) (ordering the

organizer of an LLC to show cause why he and the LLC should not be held in contempt for the

LLC's failure to comply with an order to provide post-default discovery of the LLCs financial

information); Powell v. Collier Co?istr. LLC K A, 2008 WL 11513012, at *3 (W.D. La. Dec. 4,

2008)(holding LLC members in contempt of order directed to LLC since a contrary rule would

insulate those in control of the LLC from sanctions for causing the organization not to abide by a

court order); Cent. States, Se. & Sw. Areas Health & Welfare cfe Pension Funds v. Transcon Lines,

1995 WL 472705, at *8 (N.D. Til. Aug. 8, 1995)(corporate officer may be held in contempt for



04286836                                              6
   23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 7 of 11




causing corporation’s failure to comply with court order); Total Quality Logistics, LLC v. TW

Tramp. Sols., LLC,2012 WL 2045948, at *3-4(S.D. Ohio June 6, 2012)(ordering the corporate

officer to appear for a show-cause hearing as a result of corporation’s failure to comply with court

order); American Airlines, Inc. v. Allied Pilots Ass'n, 53 F. Supp. 2d 909, 941 (N.D. Tex. 1999)

(imposing contempt sanctions against officers of an unincorporated association for failure to cause

the organization to comply with court order); Connolly v. J.T. Ventures, 851 F.2d 930, 935 (7th

Cir. 1988)(“a command to the corporation is in effect a command to those who are officially

responsible for the conduct of its affairs. If they, apprised of the writ directed to the corporation,

prevent compliance or fail to take appropriate action within their power for the performance of the

corporate duty, they, no less than the corporation itself, are guilty of disobedience, and may be

punished for contempt”); N.L.R.B. v. Maine Caterers, Inc., 732 F.2d 689, 691 (1st Cir. 1984)

(“[A]n officer, responsible for the corporation's affairs and for its disobedience, may be held liable

for contempt.”); New London Tobacco Mkt., Inc. v. Kentucky Fuel Corp., 2022 WL 1301772, at

*6(E.D. Ky. Mar. 23, 2022)(holding LLC members in contempt for LLC’s violation of discovery

orders and since “[a] rule which would allow a corporate officer to remain deliberately ignorant of

the particulars of a court order, and thereby avoid a contempt citation, would defy common

sense. '); Elec. Workers Pension Tr. Fund ofLoc. Union 58, IBEW v. Gary's Elec. Serv. Co., 340

F.3d 373, 378-79 (6th Cir. 2003)(“Pipia, as an officer of the corporation and the one responsible

for the corporation's affairs, was subject to the court's order just as the corporation itself was.

Because Pipia either prevented compliance or failed to take appropriate action within his power

for the performance of the corporate duty, the district court had the authority to hold Pipia in

contempt.”).




04286836                                          7
  23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 8 of 11




           13.   According to the Secretary of State’s website, Mr. Sanders is KH Enterprise’s

Manager, Member, and President. Moreover, Mr. Guy stated that Mr. Sanders would be testifying

on behalf of KH Enterprise, and Mr. Sanders briefly appeared on April 12 only to state that he did

not have time to sit for a deposition. As such, Mr. Sanders bears responsibility for KH Enterprise’s

compliance with the Court’s orders and lawfully issued subpoenas and is the reason KH Enterprise

has failed to comply with the KH 2004 Order and subpoena. Therefore, in addition to KH

Enterprise, the Court should hold Mr. Sanders in contempt in his individual capacity.

C.         Relief Requested

           14.   TSL should not be forced to bear additional costs and attorneys’ fees just because

the KH Parties refuse to comply with the Court’s orders and lawful subpoenas. Moreover, it is

clear that the KH Parties have no intention of complying with the Court’s orders and valid

subpoenas absent sanctions designed to encourage compliance. Accordingly, TSL respectfully

requests that the Court enter an order (1) holding the KH Parties in civil contempt of the KH 2004

Order and the subpoena served on KH Enterprise; (2) requiring the KH Parties, jointly and

severally, to pay TSL’s costs and attorneys’ fees incurred as a result of the KH Parties’ contempt,

including TSL’s costs and attorneys’ fees incurred in preparing and prosecuting this motion, within

30 days of entry of an order granting this motion;(3) imposing a $100 per diem fine on the KH

Parties,jointly and severally, for each day they continue to fail to comply with the KH 2004 Order

and the subpoena; and (4) compelling the KH Parties to fully comply with the KH 2004 Order by

producing all responsive documents in KH Enterprise’s possession, custody, or control and making

KH Enterprise available for a deposition on a date certain.

           WHEREFORE,PREMISES CONSIDERED, TSL respectfully requests that the Court

enter an order(1) holding the KH Parties in civil contempt of the KH 2004 Order and the subpoena



04286836
  23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 9 of 11




served on KH Enterprise; (2) requiring the KH Parties, jointly and severally, to pay TSL’s costs

and attorneys’ fees incurred as a result of the KH Parties’ contempt, including TSL’s costs and

attorneys’ fees incurred in preparing and prosecuting this motion, within 30 days of entry of an

order granting this motion; (3) imposing a $100 per diem fine on the KH Parties, jointly and

severally, for each day they continue to fail to comply with the KH 2004 Order and the subpoena,

with said fine payable to TSL; and (4) compelling the KH Parties to fully comply with the KH

2004 Order by producing all responsive documents in KH Enterprise’s possession, custody, or

control and making KH Enterprise available for a deposition on a date certain. TSL requests such

other relief as the Court deems appropriate.

           Dated: April 18, 2023.

                                               Respectfully submitted.

                                               TRI-STATE TRUK CENTER,INC. D/B/A TRI
                                               STATE LEASING



                                               By: A/ William D. Drinkwater
                                                      Of Counsel



OF COUNSEL:


James A. McCullough, III(MSB # 10175)
imccullouah@brunini.com
William D. Drinkwater(MSB # 103913)
wdrinkwater@brunini.com
BRUNINI,GRANTHAM,GROWER & HEWES,PLLC
190 East Capitol Street, Suite 100(39201)
Post Office Drawer 119
Jackson, Mississippi 39205
Telephone:(601)948-3101
Facsimile: (601)960-6902




04286836                                          9
  23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 10 of 11




                                     CERTIFICATE OF SERVICE

           I hereby certify that I have this date caused to be filed a true and correct copy of the foregoing

with the Clerk ofthe Court using the Court’s electronic filing system, which caused notice ofsuch filing

to be delivered electronically to all counsel of record. I additionally certify that I have this day caused

a copy ofthe above and foregoing to be served on the following by United States Mail, postage prepaid:

           Safe Way Transport, LLC
           c/o Kina Sanders
           907 S. State Street
           Jackson, MS 39201

           Bryant D. Guy
           P.O. Box 10173
           Jackson, MS 39286

           Stephen Smith
           1052 Highland Colony Parkway, Suite 100
           Ridgeland,MS 39157

           United States Trustee
           501 East Court Street
           Suite 6-430
           Jackson, MS 39201

           Dated: April 18, 2023.

                                                            By:/s/ William D. Drinkwater




04286836                                               10
  23-00103-JAW Dkt 82 Filed 04/18/23 Entered 04/18/23 13:09:13 Page 11 of 11




                                        VERIFICATION

STATE OF MISSISSIPPI

COUNTY OF HINDS

        Personally appeared before me, the undersigned authority in and for the said County and
State, William D. Drinkwater, who being first duly sworn on oath states that the facts set forth in
the foregoing Verified Motionfor Contempt and Award ofCosts, Fees, and Penalties are true and
correct to the best of his knowledge, information, and belief.




                                                     William D. Drinkwater



SWORN TO AND SUBSCRIBED before me,this the 18th day of April, 2023.


                                                                   i/.
                                                     NOTARY PUBLIC
My Commission Expires:

      ^'I I' 2.7


                          fo
                        ● UAf>




04286836                                        11
